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16   Attorneys for Defendant Google LLC
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17
                                   UNITED STATES DISTRICT COURT
18
                                  EASTERN DISTRICT OF CALIFORNIA
19

20
     REPUBLICAN NATIONAL COMMITTEE,                 Case No. 2:22-cv-01904-DJC-JDP
21
                     Plaintiff,                     RESPONSE TO PLAINTIFF’S
22                                                  CORRECTED EX PARTE APPLICATION
            v.                                      FOR A CONTINUANCE OF THE
23                                                  HEARING AS TO DEFENDANT’S [30]
     GOOGLE INC.,                                   MOTION TO DISMISS AND
24                                                  PLAINTIFF’S [34] MOTION TO STRIKE
                     Defendant.
25                                                  Dept:    Courtroom 10, 13th Floor
                                                    Judge:   Hon. Daniel J. Calabretta
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                 RESPONSE TO PLAINTIFF’S CORRECTED EX PARTE APPLICATION FOR A CONTINUANCE
     Case 2:22-cv-01904-DJC-JDP Document 47 Filed 06/13/23 Page 2 of 2


 1           Defendant Google LLC (erroneously sued as “Google Inc.”) submits this response to
 2   Plaintiff Republican National Committee’s Corrected Ex Parte Application for a Continuance of
 3   the Hearing as to Defendant’s [30] Motion to Dismiss and Plaintiff’s [34] Motion to Strike,
 4   currently scheduled by the Court for June 22, 2023.
 5           As stated by Plaintiff in its ex parte application [ECF 46], Defendant’s preference would
 6   be to maintain the hearing on June 22. Defendant does not oppose a reasonable continuance of the
 7   hearing to accommodate Plaintiff’s counsel, but believes that a continuance to August 24 is too
 8   long.
 9           Defense counsel suggests a continuance to July 13, but can be available on any Thursday
10   that the Court may wish to hear the motions other than June 29, July 20 and July 27.
11

12   Dated: June 13, 2023                              PERKINS COIE LLP

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                                                       By:
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                                                       Attorneys for Defendant Google LLC
21                                                     (erroneously sued as Google Inc.)
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               RESPONSE TO PLAINTIFF’S CORRECTED EX PARTE APPLICATION FOR A CONTINUANCE
